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                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT


                                          No. 24-141 (L)
                                       (1:23-cv-01708-JRR)


        SKYLINE TOWER PAINTING, INC.

              Petitioner

        v.

        ELIZABETH L. GOLDBERG, et al.

              Respondents


                                            No. 24-142
                                       (1:23-cv-01708-JRR)


        TELEVISION TOWER, INC.

              Petitioner

        v.

        ELIZABETH L. GOLDBERG, et al.

              Respondents


                                            No. 24-1250
                                       (1:23-cv-01708-JRR)


        ELIZABETH L. GOLDBERG, et al.

              Plaintiffs - Appellees

        v.
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        TELEVISION TOWER, INC.

                Defendant - Appellant


                                                 No. 24-1251
                                            (1:23-cv-01708-JRR)


        ELIZABETH L. GOLDBERG, et al.

                Plaintiffs - Appellees

        v.

        SKYLINE TOWER PAINTING, INC.

                Defendant - Appellant

                     DEFENDANTS/APPELLANTS’ UNOPPOSED MOTION
                         FOR LEAVE TO FILE SEPARATE BRIEFS

                Defendants/Appellants, Skyline Tower Painting, Inc. (“Skyline”) and

        Television Tower, Inc. (“TTI”), by their respective undersigned counsel, pursuant to

        Federal Rule of Appellate Procedure 27 and Fourth Circuit Local Rule 28(a) and (d),

        respectfully move this Court for leave to file separate briefs, the combined length of

        which shall not exceed the length limitations established by the Federal Rules of

        Appellate Procedure for a single brief,1 and as grounds therefore, further state as

        follows:

                1.     In May 2023, Plaintiffs filed their Class Action Complaint and Demand

        for Jury Trial in Baltimore City Circuit Court, after which Skyline and TTI removed


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            See Fed. R. App. P. 32(a)(7).

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        the action to the U.S. District Court for the District of Maryland (the “District

        Court”) pursuant to the Class Action Fairness Act (“CAFA”) on June 23, 2023. See

        Notice of Removal, Goldberg, et al. v. Skyline Tower Painting, Inc., et al., Case No.

        1:23-cv-01708-JRR, ECF No. 1; see also Class Action Complaint and Demand for

        Jury Trial, id. at ECF No. 5 (the “Complaint” or “Compl.”).

              2.     On July 24, 2023, Plaintiffs filed a Motion to Remand based on CAFA’s

        local controversy exception. See Motion to Remand, id. at ECF No. 13.

              3.     On August 7, 2023, Skyline and TTI each filed a separate Opposition

        to Plaintiffs’ Motion to Remand. See id. at ECF No. 17 (Skyline’s Opposition) and

        ECF No. 18 (TTI’s Opposition). In opposing Plaintiffs’ Motion to Remand, Skyline

        and TTI raised different arguments in the District Court, including TTI raising the

        separate argument that Plaintiffs failed to establish that the conduct of an in-state

        defendant (TTI) is a significant basis of Plaintiffs’ claims for purposes of CAFA’s

        local controversy exception. See id.

              4.     Skyline and TTI are not identically situated and have separate

        arguments despite sharing certain interests, positions, and arguments. Plaintiffs’

        Complaint alleges that TTI is an in-state Defendant that owns the television tower at

        issue, and that Skyline is an out-of-state Defendant contractor that provided painting

        services on the tower. See Compl. ¶¶ 6-9. Plaintiffs’ Complaint asserts claims against

        Skyline and TTI based on allegations that both Skyline’s and TTI’s dissimilar



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        conduct brought about Plaintiffs’ alleged harm, featuring general and separate counts

        against both entities. See generally Compl. ¶¶ 13-67, passim.

              5.     The District Court’s opinion and order granting Plaintiffs’ Motion to

        Remand based on CAFA’s local controversy exception were entered on March 11,

        2024. See District Court Case No. 1:23-cv-01708-JRR, docket entries for ECF Nos.

        23 and 24 (“Entered: 03/11/2024”).

              6.     On March 21, 2024, Skyline and TTI each filed separate Petitions for

        Permission to Appeal the Remand Order raising different arguments, which were

        each assigned their own associated Fourth Circuit case numbers, with Skyline’s

        petition assigned Case No. 24-141, and TTI’s petition assigned Case No. 24-142.

        See generally USCA4 Appeal: 24-141 and 24-142.

              7.     On March 22, 2024, Skyline and TTI each filed separate Notices of

        Appeal regarding the District Court’s Remand Order, which were each assigned their

        own associated Fourth Circuit case numbers, with TTI’s appeal assigned Case No.

        24-1250, and Skyline’s appeal assigned Case No. 24-1251. See generally USCA4

        Appeal: 24-1250 and 24-1251.

              8.     This Court subsequently consolidated the cases (Nos. 24-141, 24-142,

        24-1250, and 24-1251) with No. 24-141 assigned as the lead case.




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              9.     On April 16, 2024, this Court entered an Order that the clerk shall

        establish a formal briefing schedule on the merits of the appeals, and deferring ruling

        on the petitions pending formal briefing. See USCA4 Appeal: 24-141, Doc: 23.2

              10.    On April 19, 2024, this Court entered a Briefing Order (USCA4 Appeal:

        24-141, Doc: 27) setting deadlines including, inter alia, an Opening Brief deadline

        of May 29, 2024, and Response Brief deadline of June 28, 2024.

              11.    Under Fourth Circuit Local Rule 28(a) and (d), only one brief per side

        is permitted in multiparty cases, unless leave is granted for separate briefing.

              12.    Given that Skyline and TTI are not identically situated and given the

        separate arguments of the two Defendants, Skyline and TTI respectfully request that

        Defendants be permitted to file separate briefs - the combined length of which shall

        not exceed the length limitations established by Federal Rules of Appellate

        Procedure for a single brief. See Fed. R. App. P. 32(a)(7).

              13.    Undersigned counsel contacted Plaintiffs’ counsel who stated on May

        3, 2024, that they do not object to Defendants filing separate briefs, the combined

        length of which will not exceed the limits for a single brief.




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         More fully, the Order stated: “Upon consideration of submissions relative to the
        petitions for permission to appeal, the clerk shall establish a formal briefing schedule
        on the merits of the appeals. The court defers ruling on the petitions pending formal
        briefing of the appeals and assignment of the petitions and appeals to a merits panel.”
        See USCA4 Appeal: 24-141, Doc: 23.

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              WHEREFORE, in view of the circumstances outlined above, Defendants

        respectfully request leave to file separate briefs.

                                                 Respectfully submitted,

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                                       CERTIFICATE OF COMPLIANCE

                 Pursuant to Federal Rule of Appellate Procedure 27(d), undersigned counsel

        certifies:

                 1. This motion complies with the type volume limitations of Fed. R. App. P.
                    27(d)(2) because this motion contains 1,136 words, excluding the
                    accompanying documents required by Rule 27(a)(2)(B).

                 2. This motion complies with Fed. R. App. P. 27(d), the typeface
                    requirements of Fed. R. App. P. 32(a)(5) and the type-style requirements
                    of Fed. R. App. P. 32(a)(6) because this motion has been prepared in a
                    proportionally spaced typeface using Microsoft Word in Fourteen point,
                    Times New Roman.

                                                    /s/ Thomas V. McCarron
                                                    Thomas V. McCarron


                                            CERTIFICATE OF SERVICE

                 I hereby certify that on May 3, 2024, a copy of the foregoing motion was

        served electronically via the CM/ECF system on all counsel of record.

                                                    /s/ Thomas V. McCarron
                                                    Thomas V. McCarron


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